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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 TARA FARRELL, et al.,                            §
                                                  §
          Plaintiffs,                             §
                                                  §
 v.                                               §       C.A. No. 3:22-cv-00728-M
                                                  §
 NEW MILLENNIUM CONCEPTS, LTD.,                   §
                                                  §
          Defendant.                              §

                    DEFENDANT’S UNOPPOSED MOTION FOR
             AN EXTENSION OF TIME TO RESPOND TO THE COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Defendant files this Unopposed

Motion for an Extension of Time to Respond to the Complaint.

         On March 30, 2023, the Court issued an Order granting in part and denying in part

Defendant’s motion to dismiss the Complaint for failure to state a claim. See Dkt. 59. In relevant

part, the Court dismissed Plaintiffs’ punitive damages claims for unjust enrichment without leave

to amend and for all other causes of action with leave to amend. Id. at 2-3. The Court stated it

would dismiss the remaining punitive damages claims with prejudice unless Plaintiffs amended

the Complaint by April 20, 2023 to adequately plead a basis for them. Id. at 3. Plaintiffs did not

amend, and Defendant’s deadline to answer the Complaint is May 4, 2023. Fed. R. Civ. P. 15(a)(3).

         Defendant requests a 14-day extension of time to answer the Complaint, or until May 18,

2023. Good cause exists for this requested extension. The putative class action Complaint is 82

pages long, contains 9 exhibits, and seeks to bring claims on behalf of a nationwide class for

declaratory, injunctive, and monetary relief, as well as attorneys’ fees and costs and civil penalties.

The three named Plaintiffs assert three California statutory claims and three common law claims

apparently brought under the laws of all 50 states. Plaintiffs challenge statements purportedly made



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about six different products and various product accessories. As a result, the requested 14-day

extension will provide Defendant with adequate time to answer, and it will not unduly delay these

proceedings. The extension is not sought for delay but so the ends of justice may be served.

          This is the first request for an extension of time for Defendant to answer the Complaint.

Plaintiffs do not oppose the relief requested herein.

          Accordingly, Defendant respectfully requests that the Court grant this unopposed motion

and extend Defendant’s deadline to answer until May 18, 2023.


Dated: April 24, 2023                                   Respectfully Submitted,

                                                        /s/ Ronald W. Breaux
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                                                        Counsel for Defendant


                               CERTIFICATE OF CONFERENCE

          I hereby certify that on April 11, 2023, counsel for the parties conferred regarding the

foregoing motion and Plaintiffs’ counsel stated that Plaintiffs do not oppose the relief requested

herein.

                                                        /s/ Ronald W. Breaux
                                                        Ronald W. Breaux



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 24, 2023, the foregoing document was served on all counsel

of record via the Court’s electronic filing system.

                                                           /s/ Ronald W. Breaux
                                                           Ronald W. Breaux




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